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                                              April 9, 2018                       "@-


    BY ECF
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    Hon. Victor Marrero
    United States District Judge
    Daniel Patrick Moynihan
    United States Courthouse
    500 Pearl Street
    New York, NY 10007-1312

           RE:    United States v. District Council, et a\..90-Civ.-5722 (V\{t)

    Dear Judge Marrero

            This firm is general counsel to the Defendant, the District Council of New York
    City and Vicinity of the United Brotherhood of Carpenters and Joiners of America (the
    "District Council"). As directed by Your Honor on April 3,2018, I am submitting this
    letter in response to the April 2, 2018letter filed by Mark A. Rosen on behalf of the
    Association of Wall-Ceiling & Carpentry Industries of New York, lnc. (the "WCC"), one of
    the multiemployer associations with which the District Council bargains and has a
    collective bargaining agreement ("CBA').

            Without first attempting to discuss with the undersigned or the leadership of the
    District Council, Mr. Rosen wrote to the Court requesting a determination that the 1:1
    matching provisions as applied under the District Council-WCC CBA, including with two-
    person jobs under the invocation by WCC member-contractors of lnternational
    Agreements, are unlawful under the National Labor Relations Act (the "NLRA') because
    they do not serve an anti-corruption purpose as contemplated in the Court's May 8,
    2013 Decision & Order (Docket No. 1315) approving the CBA with its various anti-
    corruption features. As described below, the issue raised by Mr. Rosen has been
    mooted by this Court's and the Second Circuit's earlier decisions and the District
    Council's actions since those decisions. ln any event, should Mr. Rosen and his client
    have continuing concerns with the issue, the proper forum is at the bargaining table or
    with the National Labor Relations Board (the "NLRB"). As noted below, the parties are
    addressing the issue in bargaining.
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         As Your Honor is well aware, the issue of 1:1 matching was addressed by the
  NLRB in its Decision and Order in The Cement League (Northeast Regional Council of
  Carpenters), 363 N.L.R.B. No. 117 (Feb. 12,2016), where the NLRB determined that
  the 1:1 matching provision in the District Council's collective bargaining agreement with
  The Cement League violated the NLRA. The Second Circuit agreed with the NLRB in
  The Cement League, et al. v. NLRB. et a|.,16-0495 (April 21,2017), while holding its
  mandate in abeyance until hearing from this Court as to whether enforcing the NLRB's
  decision would have a bearing upon this Court's jurisdiction of the supervision under the
  Consent Decree. Your Honor answered the Second Circuit's question in the negative in
  the May 9,2017 Decision and Order (Docket No. 1769). The Second Circuit's mandate
  in The Cement Leaque, et al. v. NLRB. et aI.,16-0495, issued on June 1, 2017 .

          I have been advised that since then, the District Council has not enforced the 1:1
  matching provisions in any of the CBAs that have that feature, including member-
  contractors of signatory multiemployer associations invoking lnternationalAgreements
  on two-person jobs. On December 12,2017, the District Council formally withdrew or
  dismissed long pending grievances alleging CBA violations of the 1:1 matching
  provisions by WCC member-contractors who invoked lnternational Agreements on two-
  person jobs.1

         On July 20,2017, the District Council's leadership met with the WCC's Executive
  Director and President, along with the Eastern District Vice President of the United
  Brotherhood of Carpenters and Joiners of America (the "UBC") and UBC counsel, to
  discuss a way fonruard without the 1:1 matching provisions. W¡th the assistance of the
  UBC, the District Council and the WCC fashioned a draft alternative to 1:1 matching that
  is consistent with the provisions of the NLRA while also providing important anti-
  corruption features. At the same meeting, the parties also tentatively agreed to
  arrangements by which member-contractors of the WCC would not be able to invoke




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   The 1:1 matching provisions appear in a limited number of multiemployer CBAs that were negotiated in
  2012-14 where "full mobility" was introduced and that required the approval of the Court. (See Docket
  Nos. 1315, 1332, 1358, 1386, 1 394, 1426, 1481, 1488, and 1497.) Certain other multiemployer CBAs
  covering such crafts as Dockbuilders and Timbermen were not required to be included. And the District
  Council has collective bargaining agreements with some 700 contractors under independent CBAs that
  prohibit full mobility in that the contractors must procure at least fifty percent of their respective trades
  people from referrals through the District Council's Out of Work List. Those independent CBAs never had
  1:1 matching based upon DistrictCouncil membership.
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  lnternational Agreements on two-person jobs. Of course, final agreements on these
  matters must abide the negotiation and ratification of a successor CBA.'

         Should the WCC have any dispute with the District Council over the conduct or
  content of negotiations, the proper forum is at the bargaining table or, as made plain
  with the unfair labor practice case of The Cement Leasue (Northeast Reqional Council
  of Carpenters), 363 N.L.R.B. No. 117 , before the NLRB.



                                                 Respectfully subm itted,

                                                 SPIVAK LIPTON LLP
                                                 Attorneys for the District Council


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  'The  District Counciland the WCC negotiated a Private Residential/Hotel Market Recovery Addendum
  (Revised Aug. 1 1, 2016) and they have been working under a series of Extension Agreements since the
  June 30, 2017 expuation of the CBA.
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